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                       UNITED STATES DISTRICT COURT
                                          for the
                                Eastern District of Kentucky
                                     London Division

Teresa Chandler                              )
       Plaintiff                             )
                                             )
v.                                           )       Case No.       6:17-cv-00050-GFVT
                                             )
Peoples Bank & Trust Co. of Hazard           )
       Defendant                             )
Serve:                                       )
       Leon L. Hollon                        )
       524 Main St.                          )
       Hazard, KY 41701                      )
                                             )


     FIRST AMENDED COMPLAINT and DEMAND FOR JURY TRIAL
                                       INTRODUCTION

       1.      This is an action brought by Plaintiff Teresa Chandler against Defendant Peoples
Bank & Trust Co. of Hazard for violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et
seq. (“FCRA”) and for breach of contract.

                                        JURISDICTION

       2.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, the FCRA § 1681p, and
28 U.S.C. § 2201. Plaintiff Teresa Chandler asks the Court to take supplemental jurisdiction over
her Kentucky state contract claim which arises out of the same facts as her federal claims pursuant
to 28 U.S.C. § 1367.


                                            PARTIES

       3.      Plaintiff Teresa Chandler is a natural person who resides in Perry County, Ky. and
is a “consumer” within the meaning of the FCRA, as defined at 15 U.S.C. § 1681a(c).

       4.      Defendant Peoples Bank & Trust Co. of Hazard (“Peoples Bank”) is a Kentucky
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banking corporation and is a furnisher of credit information within the meaning of the FCRA.


                                       STATEMENT OF FACTS

          5.        On May 7, 2012, Ms. Chandler and her husband Jerry Chandler entered into a
Promissory Note with Peoples Bank, which note was secured by the Chandlers’ mobile home.
          6.        A true and accurate copy of the Promissory Note secured by the Chandlers’ mobile
home is included in Peoples Bank’s Proof of Claim attached as Exhibit “A.”
          7.        The May 7th Promissory Note was for a principal balance of $9,882.37 at 11.00%
interest to be paid off in 47 regular payments of $136.19 each, with a final last payment estimated
at $7,288.83.
          8.        Under the terms of the Promissory Note, the first payment of $136.19 was due on
June 7, 2012, with the remaining payments due on the 7th of each month thereafter until paid in
full.
          9.        On July 30, 2013, the Chandlers filed for Chapter 7 Bankruptcy relief in the U.S.
Bankruptcy Court for the Eastern District of Kentucky under Case No. 13-60978 (the “Bankruptcy
Case”).
          10.       When the Chandlers filed their Chapter 7 Bankruptcy, they had not paid the $136.19
regular payment due on July 7, 2013.
          11.       On August 8, 2013, the Chandlers made a payment of $136.19 on the Promissory
Note to Peoples Bank.
          12.       On August 9, 2013, Peoples Bank filed a Proof of Claim in the Chandlers’
bankruptcy case concerning the Promissory Note secured by the Chandlers’ mobile home.
          13.       Peoples Bank’s Proof of Claim set forth the following information:
                   the “Amount of Secured Claim” was $9,260.38;
                   the “Amount of arrearages and other charges, as of the time case was filed, included
                    in secured claim…” was $177.05 (emphasis added);
                   the “Due date” for the next payment was July 7, 2013;
                   the “Days late” for the next payment due was 28;
                   the “Amount past due” was $177.05; and
                   the “Daily interest (Per Diem)” was $2.790799.


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       14.    Peoples Bank’s Proof of Claim on the Promissory Note secured by the Chandlers’
mobile home was based on account information generated by Peoples Bank on August 5, 2013.
       15.    Consequently, Peoples Bank’s Proof of Claim did not include the Chandlers’
August 8, 2013 payment of $16.19.
       16.    Rather, the missed payment of $136.19 due on July 7, 2013 was included in the
arrearage amount of $177.50, which was included in the Proof of Claim amount of $9,260.38.
       17.    As part of the Bankruptcy Case, Ms. Chandler reaffirmed two debts with Peoples
Bank, one of which was secured by a mobile home and the other secured by a vehicle. A true and
accurate copy of the Reaffirmation Agreement for the Promissory Note secured by the Chandlers’
mobile home is attached as Exhibit “B.”
       18.    The Reaffirmation Agreement, prepared by Peoples Bank and signed by Ms.
Chandler and her husband, stated that the $9,355.02 was the “Amount of the debt subject to this
reaffirmation agreement.”
       19.    So, the amount reaffirmed under the Reaffirmation Agreement was $94.64 more
than was set forth in Peoples Bank’s Proof of Claim on the same debt.
       20.    Therefore, the amount reaffirmed under the Reaffirmation Agreement necessarily
included the $136.19 for the missed payment on July 7, 2013. That is, the Reaffirmation
Agreement capitalized the missed $136.19 payment for July 7, 2013.
       21.    The “Reaffirmation Agreement Repayment Terms” were “$136.19 per month for
34 months starting on 8-7-13 with all remaining principal and interest due [at] maturity.”
(Emphasis added).
       22.    The Chandlers made the first payment of $136.19 due under the Reaffirmation
Agreement payment on August 8, 2013.
       23.    A loan history by Peoples Bank clearly shows that this payment was made and the
Chandlers’ payment of same is not in dispute:




       24.    A true and accurate redacted copy of the Peoples Bank loan history for the
Promissory Note secured by the Chandlers’ mobile home is attached as Exhibit “C.”

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       25.     Peoples Bank erroneously applied the Chandler’s first payment Reaffirmation
Agreement toward the July 7, 2013 missed prepetition debt.
       26.     This was error because the missed July 7, 2013 payment of $136.19 was included
in the amount reaffirmed in the Reaffirmation Agreement. That is, because the July 7th missed
payment was capitalized in the amount due under the Reaffirmation Agreement, no payment was
or could be due for the missed prepetition payment on July 7, 2013. This was also error because
the Reaffirmation Agreement clearly and plainly called for the first payment due under the
Reaffirmation Agreement started on August 7, 2013.
       27.     Peoples Bank’s misapplication of the Chandlers’ August 8th payment violated the
plain terms of the Reaffirmation Agreement.
       28.     As a result of Peoples Bank’s misapplication of the Chandlers’ payment, Peoples
Bank reported to one or more Consumer Reporting Agencies (CRA’s) that Ms. Chandler was 30
days late in making her August 2013 payment. Additionally, Peoples Bank erroneously charged
Ms. Chandler a $6.81 late fee on payment timely made.
       29.     According to the Credit Reporting Resource Guide (“CRRG”),1 a 30-day late entry
on a consumer credit report is used when an account is between 30-59 days past due as marked
from the payment due date. CRRG at 2-2 (2011 ed.).
       30.     Peoples Bank never corrected its error.
       31.     Peoples Bank’s error thereafter compounded into additional errors of her credit
history on the loan.
       32.     Following her August 8th payment, Ms. Chandler made her next regular payment
to Peoples Bank on October 3, 2013:




Exhibit “C.”


1
 “The Credit Reporting Resource Guide (CRRG) was created by the Consumer Data Industry
Association (CDIA) to assist data furnishers with reporting credit information to the credit
reporting companies. The CRRG contains detailed information regarding the Metro 2 format,”
which “is the industry standard file format for reporting consumer credit information.”
https://www.transunion.com/data-reporting/data-reporting-faqs (visited May 3, 2017).

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       33.     Again in error, Peoples Bank applied the Chandlers’ October 3rd payment to the
August 7, 2013 payment. Peoples Bank should have applied the October 3, 2013 payment to the
September 7, 2013 payment.
       34.     Consequently, the Chandlers were no more than 27 days late in making the
September 7, 2013 payment.
       35.     Yet again, Peoples Bank erroneously reported to the CRA’s that Ms. Chandler was
30 days late on the mobile-home loan in September 2013 even though, as shown supra Ms.
Chandler was less than the 30 days late in making the September 7, 2013 payment.
       36.     The Chandlers paid the October 7, 2013 payment on October 31, 2013, which was
no more than 24-days late:



Id.
       37.     Peoples Bank erroneously applied the Chandlers’ October 31st payment to the
September 7, 2013 payment.
       38.     Due to her confusion over as to payments made, Ms. Chandler missed the
November 2013 payment on the mobile-home loan. Even so as of November 2013, Ms. Chandler
was at most 30 days late but because of its initial error in the loan history, Peoples Bank incorrectly
reported to the CRA’s that Ms. Chandler was 60 days late in October 2013 even though, as shown
supra, she was less 30-days late as of October 2013.
       39.     The Chandlers made the next payment on December 30, 2013.




Id.


       40.     Peoples Bank erroneously applied the December 30th payment to the October 7,
2013 payment even though it should have applied it to the November 7, 2013 missed payment.
       41.     Because of its initial error in the loan history, Peoples Bank reported to the CRA’s
that Ms. Chandler was 90 days late in November 2013 even though, as shown above, she was at
most 53 days late as of November 2013. Thus, Peoples Bank should have reported that she 30-


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days late, not 90-days late
        42.    Due to her continuing confusion caused by Peoples Bank’s errors, Ms. Chandler
missed her January 7, 2014 payment but then made three payments in February 2014.




Id.
        43.    Peoples Bank erroneously applied the first February 2014 payment to the
November 7, 2013 payment. As shown supra, Ms. Chandler was current through November 2013
after making a payment on December 30, 2013. Peoples Bank should have applied the first
February 2014 payment to the December 7, 2013 payment.
        44.    The Chandlers made the second and third February 2014 payments on February 25,
2014.




Id.
        45.    Peoples Bank erroneously applied the second February 2014 payment to the
December 7, 2013 payment even though, as shown supra, as of February 25, 2014 Ms. Chandler
was current through December 2013 and therefore Peoples Bank should have applied the second
February 2014 payment to the January 7, 2014 payment.
        46.    Peoples Bank erroneously applied the third February 2014 payment to the January
7, 2014 payment even though, as shown above, as of February 25, 2014, Ms. Chandler was current
through January 2014. Peoples Bank should have applied the third February 2014 payment to the
February 7. 2014 payment.
        47.    So as of February 2014, Ms. Chandler was current on her mobile-home loan
payments to Peoples Bank.
        48.    The Chandlers made their next payment on March 6, 2014.




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Id.
       49.     Peoples Bank erroneously applied the March 6, 2014 payment to the February 2014
payment. Further, Peoples Bank charged the Chandlers an unjustified late fee of $6.81.
       50.     Because of its initial error in the loan history, Peoples Bank reported to the CRA’s
that Ms. Chandler was 30 days late in March 2014. As shown above, Ms. Chandler was current in
March 2014.
       51.     Thereafter, the Chandlers did not miss any payments to Peoples Bank on the
mobile-home loan.
       52.     Despite the fact that Ms. Chandler was current in her payments from March 2014
forward, Peoples Bank reported to the CRA’s that Ms. Chandler was 30 days late from March
2013 through June 2016. Id.
       53.     Peoples Bank imposed 26 additional late fees of $6.81 totaling $177.06, which
imposition of late fees she did not owe for payments that Ms. Chandler did not miss was a breach
of the reaffirmation agreement.
       54.     In addition to misreporting the mobile-home loan history to the CRA’s and
charging her unjustified late fees, Peoples Bank constantly harassed Ms. Chandler with collection
calls, threats, and “visits” to her property which harassment caused her great emotional distress,
anxiety, and mental distress.
       55.     After paying off the mobile home loan in full, Ms. Chandler began monitoring her
credit and continued her efforts to correct her credit report by hiring a professional to help them
improve their credit.
       56.     In March of 2016, Ms. Chandler and her husband sent multiple dispute letters to
the three major CRA’s, Equifax Information Services, LLC (“Equifax”), Experian Information
Solutions, Inc. (“Experian”), and Trans Union, LLC (“Trans Union”). Mr. and Ms. Chandler also
sent dispute letters directly to Peoples Bank which dispute letters directly challenged and disputed
the accuracy of the loan history of the mobile-home loan payments appearing on her credit reports.
       57.     Experian, Equifax, and Trans Union all sent or should have sent Peoples Bank
notice of Ms. Chandler’s disputes, which thereby triggered Peoples Bank’s duty under 15 U.S.C.
§ 1681s-2(b) to reinvestigate the mobile-home loan history.
       58.     Peoples Bank failed to conduct a reasonable investigation into Ms. Chandler’s
disputes concerning the negative credit information Peoples Bank was furnishing about Ms.

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Chandler and the mobile-home loan history.
        59.    Peoples Bank falsely verified the accuracy of the disputed negative credit
information to one or more consumer reporting agencies.
        60.    Because Peoples Bank failed to conduct a reasonable investigation of Ms.
Chandler’s dispute, Ms. Chandler suffered actual damages in the form of a lowered credit score,
denial of credit, and fees and costs associated with attempting to correct Peoples Bank’s error.
        61.    Peoples Bank violated the FCRA by failing to conduct a reasonable investigation
of Ms. Chandler’s dispute after receiving notice of the dispute from one or more consumer
reporting agencies.
        62.    Peoples Bank breached the reaffirmation agreement by failing to properly credit
Ms. Chandler for payments made, by misreporting that Ms. Chandler was behind in her payments
on the mobile home, by imposing unjustified late fees, and by continually attempting to collect
payments from Ms. Chandler that were not due or owing.


                                    CLAIMS FOR RELIEF

I.      Violations of the FCRA

        63.    Ms. Chandler restates and re-allege the allegations as set out in paragraphs 1
through 51 and state that the foregoing acts and omissions of Peoples Bank as alleged violate the
FCRA.
               i.     Violations of 15 U.S.C. § 1681n

        64.    After being notified by Equifax, Experian, and/or Trans Union that Ms. Chandler
disputed the accuracy of the credit information it was furnishing concerning Ms. Chandler and the
mobile-home loan payment history which disputes put Peoples Bank on notice that Peoples Bank
was furnishing false negative credit information about Ms. Chandler and the mobile-home loan
payment history.
        65.    Peoples Bank willfully failed to conduct a proper investigation of Ms. Chandler’s
disputes filed with Equifax, Experian, and/or Trans Union.
        66.    Peoples Bank willfully failed to review and/or furnish all relevant information
purportedly provided by Equifax, Experian, and/or Trans Union to Peoples Bank in conducting its
investigation of Plaintiffs’ disputes as required by 15 U.S.C. § 1681s-2(b)(B).

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       67.     Peoples Bank willfully failed to direct Equifax, Experian, and/or Trans Union to
delete inaccurate information about Plaintiffs pertaining to the mobile-home loan payment history
as required by 15 U.S.C. § 1681s-2(b)(C).
       68.     Ms. Chandler has a private right of action to assert claims against Peoples Bank
arising under 15 U.S.C. § 1681s-2(b).
       69.     Peoples Bank is liable to Ms. Chandler for the actual damages she has sustained by
reason of its violations of the FCRA, in an amount to be determined by the trier of fact, or up to
$1,000.00 in statutory damages, whichever is greater, together with an award of damages for the
mental and emotional distress and harassment caused and inflicted by Peoples Bank, and punitive
damages in an amount to be determined by the trier of fact, as well as her reasonable attorney’s
fees, which she may recover pursuant to 15 U.S.C. § 1681n.

       ii.     Violation of 15 U.S.C. § 1681o

       70.     After being notified by Equifax, Experian, and/or Trans Union that Ms. Chandler
disputed the accuracy of the information it was furnishing concerning Ms. Chandler and the
mobile-home loan history, Peoples Bank negligently and/or willfully failed to conduct a proper
investigation of Ms. Chandler’s disputes, filed with Equifax, Experian, and/or Trans Union, that
Peoples Bank was furnishing false negative credit information about Ms. Chandler and the mobile-
home loan payment history.
       71.     Peoples Bank negligently and/or willfully failed to review all relevant information
purportedly provided by Equifax, Experian, and/or Trans Union to Peoples Bank in conducting its
investigation, as required by 15 U.S.C. § 1681s-2(b)(B).
       72.     Peoples Bank negligently and/or willfully failed to direct Equifax, Experian, and/or
Trans Union to delete inaccurate information about Ms. Chandler pertaining to the mobile-home
loan payment history and furnished by Peoples Bank as required by 15 U.S.C. § 1681s-2(b)(C).
       73.     Ms. Chandler have a private right of action to assert claims against Peoples Bank
arising under 15 U.S.C. § 1681s-2(b).
       74.     Peoples Bank is liable to Ms. Chandler for the actual damages she has sustained by
reason of its negligent and/or willful violation of the FCRA, in an amount to be determined by the
trier of fact, with an award of damages for the mental and emotional distress and harassment caused
and inflicted by Peoples Bank as well as her reasonable attorney’s fees, and she may recover

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therefore pursuant to 15 U.S.C. § 1681o.


II.       Breach of Contract

          75.    Ms. Chandler restates and re-alleges the allegations as set out in paragraphs 1
through 62.
          76.   Peoples Bank breached the reaffirmation agreement by failing to properly credit
Ms. Chandler for payments made, by misreporting that Ms. Chandler was behind in her payments
on the mobile home, by imposing unjustified late fees, and by continually attempting to collect
payments from Ms. Chandler that were not due or owing.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Teresa Chandler requests that the Court grant her the following
relief:

          1.     Award Plaintiff maximum statutory damages pursuant to the FCRA;

          2.     Award Plaintiff actual damages;

          3.     Award Plaintiff punitive damages pursuant to the FCRA;

          4.     Award Plaintiff reasonable attorney’s fees and costs;

          5.    A trial by jury; and

          6.     Such other relief as may be just and proper.



                                        Respectfully submitted,

                                        /s/ James H. Lawson
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